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11

12                                 UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
15   RICHARD ROGALINSKI,                             CASE NO. 3:22-CV-02482-CRB
16                  Plaintiff,                       AGREED MOTION FOR AN ORDER
                                                     SETTING BRIEFING SCHEDULE
17          v.                                       FOR MOTION TO DISMISS
18   META PLATFORMS, INC.,
19                  Defendant.
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     UNOPPOSED MOTION FOR AN ORDER SETTING                            CASE NO. 3:22-CV-02482-CRB
     BRIEFING SCHEDULE FOR MOTION TO DISMISS
              Case 3:22-cv-02482-CRB Document 49 Filed 05/16/22 Page 2 of 2



 1          On April 22, the United States District Court for the Middle District of Florida transferred the
 2   case to the Northern District of California. ECF No. 31. Defendant proposes the following briefing
 3   schedule for its Motion to Dismiss:
 4
                                Brief                                               Due Date
 5
      Defendant’s Motion to Dismiss                              Thursday, June 2, 2022
 6
      Plaintiff’s Opposition to Defendant’s Motion to
 7                                                               Thursday, June 23, 2022
      Dismiss
 8    Defendant’s Reply in Support of Motion to Dismiss          Thursday, July 14, 2022
 9
            Counsel for Defendant conferred telephonically with counsel for Plaintiff on May 9, 2022, and by
10
     e-mail on May 11, 2022, and counsel for Plaintiff indicated that he agreed with the relief sought herein.
11
            Consistent with the above, Defendant submits the accompanying Proposed Order.
12
      DATED: May 16, 2022                               Respectfully submitted,
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14                                                      s/ Michael P. Esser
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      UNOPPOSED MOTION FOR AN ORDER SETTING                2                      CASE NO. 3:22-CV-02482-CRB
      BRIEFING SCHEDULE FOR MOTION TO DISMISS
